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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WILMINGTON DIVISION




    IN RE:                                         CASE NUMBER: 13-04816-8-SWH
    HUGH LEE HARDAGE
    JENNIFER LYNN HARDAGE
    9110 York Avenue
    Lubbock TX 79424

           DEBTORS                                 CHAPTER 7


                        NOTICE OF CONVERSION TO CHAPTER 7

           NOW COMES the male debtor herein, by and through counsel, pursuant to 11

    U.S.C. §1307(a) and hereby converts the above-captioned Chapter 13 case to a case

    under Chapter 7 of the United States Bankruptcy Code. In support of such Notice of

    Conversion, debtor shows the following:

             1.    That this case was filed on August 1, 2013, under Chapter 13 of the United

    States Bankruptcy Code.

             2.    That the male debtor has determined that his plan payments will not be

    feasible under Chapter 13, and therefore desires to convert to Chapter 7.

             3.    That male debtor is eligible to proceed under Chapter 7 of the United

    States Bankruptcy Code in the above-captioned case and prays this Court for the

    following relief:

             1.    That the above-captioned case be converted and that male debtor be

    accorded relief under Chapter 7 of the United States Bankruptcy Code; and

             2.    For such other and further relief as this Court deems just and proper.
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         This the 20st day of March, 2018.

                              THE LAW OFFICES OF CHRIS VONDERAU, PLLC.




                                              /s/ Christopher Vonderau
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